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  Bodyguard Productions, Inc.,
  TBV Productions, LLC,
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  Hunter Killer Productions, Inc.
                         UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF HAWAII

   Venice PI, LLC et al.,                      )   Case No.: 1:19-cv-169-LEK-KJM
                                               )   (Copyright)
                        Plaintiffs,            )
        vs.                                    )   JOINT REPORT OF MEETING
                                               )   PURSUANT TO FED. R. CIV. P.
  NGUYEN DINH MANH et. al.,                    )   26(f) AND LR 26.1 BETWEEN
                                               )   PLAINTIFFS AND DEFENDANTS
                        Defendants.            )   TECHMODO LIMITED AND
                                               )   SENTHIL VIJAY SEGARAN
                                               )
                                               )   SCHEDULING CONFERENCE
                                               )   DATE: 1/6/2020 @ 9:30 AM
                                               )   BEFORE MAGISTRATE JUDGE
                                               )   KENNETH J. MANSFIELD


    PLAINTIFFS’ REPORT OF MEETING PURSUANT TO FED. R. CIV. P.
                        26(f) AND LR 26.1

   1.         The following persons participated in a Rule 26(f) conference on October
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        21, 2019 and November 5, 2019 via email:
        Kerry S. Culpepper, representing the Plaintiffs, and
        Senthil Vijay Segaran, pro se and on behalf of Techmodo Limited
        (“Defendants”)

   2.   Initial Disclosures.     The parties have agreed to a stipulation to be
        submitted for Court’s approval requesting until February 21, 2020 to
        complete the initial disclosures required by Rule 26(a)(1).

   3.   Discovery Plan. The parties propose this discovery plan:

        (a)   Discovery will be needed on these subjects:
                (i) Plaintiffs’ allegations of inducement, contributory and direct
              copyright infringement;
               (ii) Defendants’ defenses to the allegation – particularly whether
              third parties uploaded the torrent files of Plaintiffs’ Works to the YTS
              website;
              (iii) The identification of said third parties;
              (iv) Any other areas related to claims or defenses; and
               (v) The issues for discovery should change if other parties such as
              Defendants’ users join this case.

        (b)   The parties agree that all discovery shall be conducted in accordance
              with the Court’s normal practice, the FRCP and the local rules.
        (c)   The parties do not have any issues concerning disclosure of
              electronically stored information.
        (d)   The date discovery closes shall be set at the scheduling conference.
        (e)   As per FRCP 33, the maximum number of interrogatories by each
              party to another party shall be 25, including all discrete subparts. The
              answers will be due within 30 days after being served.
        (f)   As per FRCP 36, there shall be no maximum number of requests for
              admission. The answers will be due within 30 days after being
              served.
        (g)   As per FRCP 30, the maximum number of depositions permitted by
              each party shall be 10. The parties agreed that Plaintiffs will be able
              to conduct an additional preliminary deposition on the designated
              party of Defendants in addition to the deposition allowed per FRCP
              in order to identify persons in control of the router.
        (h)   As per FRCP 30, depositions will be limited to 7 hours each.
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            (i)    The date for the exchange of expert reports shall be set at the
                   Scheduling Conference.
            (j)    The date for supplementations under Rule 26(e) shall be set at the
                   Scheduling Conference.
            (k)    The parties agreed that all discovery requests and data can be served
                   by email to opposing counsel if possible (Defendants via
                   segaran@tutanota.com; Plaintiffs via kculpepper@culpepperip.com).

   4.       Other Items:

           (a)    The Parties do not wish to meet with the Court before the scheduling
  order.
           (b)    The date for the pre-trial conference shall be set at the Scheduling
  Conference.
           (c)    The final dates for the Plaintiffs to amend pleadings or to join parties
                  shall be set at the Scheduling Conference.
           (d)    The final dates for the Defendants to amend pleadings or to join parties
                  shall be set at the Scheduling Conference.
           (e)    The final dates to file dispositive motions shall be set at the Scheduling
                  Conference.
           (f)    Parties have discussed settlement and will have further discussions.
                  Plaintiffs wish to confirm whether uploading of Plaintiffs’ Works was
                  performed by third parties.
           (g)    Parties are unable, at this time to identify any alternative dispute
                  resolution procedure that may enhance settlement prospects.
           (h)    The final dates for submitting Rule 26(a)(3) witness lists, designations
                  of witnesses whose testimony will be presented by deposition, and
                  exhibit lists shall be set at the Scheduling Conference.
           (i)    The final dates to file objections under Rule 26(a)(3) shall be set at the
                  Scheduling Conference.
           (j)    Parties estimate that this case can be ready for trial within 18 months of
                  the Scheduling Conference
           (k)    The parties have discussed alternative dispute resolution options,
                  including, without limitation, the option of participation in the court’s
                  mediation program. Defendant is not open to arbitration. The Parties
                  are prepared to consider this matter further and discuss options at the
                  Scheduling Conference.
           (l)    Because Defendant’s answer is not due until after 1/31/2020, the parties
                  jointly request that the scheduling conference be postponed for at least
                  an additional 30 days to be a date subsequent to 2/6/2020.
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